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 1     AVI WAGNER (SBN 226688)
 2     THE WAGNER FIRM
       1925 Century Park East, Suite 2100
 3     Los Angeles, CA 90067
 4     Telephone: (310) 491-7949

 5     Attorney for Plaintiffs
 6     [Additional Counsel on Signature Page]
 7

 8                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
 9

10      IN RE CAPSTONE TURBINE CORP.      Master File No.: 2:16-cv-01569
11
        STOCKHOLDER DERIVATIVE
        LITIGATION                        NOTICE OF PLAINTIFFS’
12      _________________________________ MOTION FOR FINAL
                                          APPROVAL OF SETTLEMENT
13      THIS DOCUMENT RELATES TO:         AND FEE AND EXPENSE
14      All Actions                       AMOUNT
15
                                                DATE: October 30, 2020
16                                              TIME: 10:00 a.m.
17
                                                CTRM: 8C
                                                JUDGE: Hon. Dolly M. Gee
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 1     TO: ALL PARTIES AND THEIR COUNSEL OF RECORD
 2           PLEASE TAKE NOTICE that on October 30, 2020, at 10:00 a.m., or at such
 3     other date and time as ordered by the Court, in Courtroom 8C of the United States
 4     District Court for the Central District of California, 350 West 1st Street, Los
 5     Angeles, CA, 90012, plaintiffs in the above captioned consolidated shareholder
 6     derivative action (the “Federal Consolidated Action”) will appear either
 7     telephonically or virtually before the Honorable Dolly M. Gee to move (the
 8     “Motion”), pursuant to Rule 23.1 of the Federal Rules of Civil Procedure and
 9     Local Rule 7 of this District, for entry of an order granting final approval of a July
10     14, 2020 Stipulation of Settlement (the “Stipulation”)1 entered between and among
11     the Parties to the Federal Consolidated Action.
12           The Motion seeks, inter alia, an order (the “Final Approval Order”)2: a)
13     granting final approval of the settlement embodied within the Stipulation (the
14     “Settlement”); and b) granting Plaintiffs’ Counsel’s agreed-to Fee and Expense
15     Amount. The Motion is based on this Notice of Motion, the Memorandum of
16     Points and Authorities filed in support of the Motion, the Declaration of Thomas J.
17     McKenna filed in support of the Motion, the pleadings, records, and papers on file
18     in the Actions, and such oral argument of counsel that is presented in connection
19     with the Motion.
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23       The Stipulation is attached as Exhibit A to the Declaration of Ligaya T.
       Hernandez in Support of Unopposed Motion for Preliminary Approval of
24     Settlement filed on July 27, 2020 (Dkt. 55). All capitalized terms herein, unless
25     otherwise defined, have the same meaning as set forth in the Stipulation.
26     2
        The proposed Final Approval Order is filed with the Motion and also attached as
27     Exhibit C to the Stipulation.
                                                   1
28                                                                 Master File No.: 2:16-cv-01569
       NOTICE OF PLAINTIFFS’ MOTION FOR FINAL APPROVAL OF SETTLEMENT AND FEE AND EXPENSE
                                             AMOUNT
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 1           This Motion is brought pursuant to the terms of the Stipulation, and
 2     accordingly counsel for all Parties have conferred over a period of several months
 3     concerning Plaintiffs’ filing of this Motion pursuant to Local Rule 7-3.
 4     Dated: September 28, 2020                       /s/ Avi Wagner
 5                                                     Avi Wagner (SBN 226688)
                                                       THE WAGNER FIRM
 6                                                     1925 Century Park East, Suite 2100
 7                                                     Los Angeles, CA 90067
                                                       Telephone: (310) 201-9150
 8

 9                                                     Liaison Counsel for Plaintiffs

10                                                     Michael J. Hynes
11                                                     Ligaya T. Hernandez
                                                       HYNES & HERNANDEZ, LLC
12                                                     101 Lindenwood Drive, Suite 225
13                                                     Malvern, PA 19355
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15
                                                       Thomas J. Mckenna
16                                                     Gregory M. Egleston
17                                                     GAINEY McKENNA & EGLESTON
                                                       501 Fifth Avenue, 19th Floor
18                                                     New York, NY 10017
19                                                     Telephone: (212) 983-1300
                                                       Facsimile: (212) 983-0383
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21                                                     Co-lead Counsel for Plaintiffs
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28                                                                 Master File No.: 2:16-cv-01569
       NOTICE OF PLAINTIFFS’ MOTION FOR FINAL APPROVAL OF SETTLEMENT AND FEE AND EXPENSE
                                             AMOUNT
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    1               PROOF OF SERVICE BY ELECTRONIC POSTING
    2        I, the undersigned say:
    3        I am not a party to the above case, and am over eighteen years old. On
    4 September 28, 2020, I served true and correct copies of the foregoing document, by

    5 posting the document electronically to the ECF website of the United States District

    6 Court for the Central District of California, for receipt electronically by the parties

    7 listed on the Court’s Service List.

    8        I affirm under penalty of perjury under the laws of the United States of America
    9 that the foregoing is true and correct. Executed on September 28, 2020, at Los

   10 Angeles, California.

   11

   12                                               s/ Avi Wagner
   13
                                                    Avi Wagner

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